                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )         No. 3:15-00162
       v.                                              )         Chief Judge Crenshaw
                                                       )
KENDALL R. CARTER                                      )


    MOTION IN LIMINE FOR A PRE-TRIAL DETERMINATION OF ADMISSIBILITY
                       PURSUANT TO 18 U.S.C. § 3505

       This matter is set for trial to begin on June 13, 2017.     The United States of America

(“the Government”), by and through its Acting United States Attorney, and Assistant United

States Attorneys Thomas Jaworski and Jason Ehrlinspiel, hereby provides notice to the Court of

its intention to use foreign records of regularly conducted activity, pursuant to the provisions of

Title 18, United States Code, Section 3505.     At trial, the Government intends to offer business

records of Kik Interactive, Inc. (“Kik”), a Canadian company that provides text and video

messaging applications.    A copy of the Certificate of Authenticity of Business Records, along

with the records, is attached Exhibit 1.

                                        I.   BACKGROUND

       Kik and its records custodians are located in Waterloo Ontario, Canada.        Requiring a

records custodian to engage in international travel to testify at trial is a needless taxpayer

expense.    The Government is not aware of any bases that would constitute a legitimate

challenge to the admissibility of the Kik business records.

       Therefore, on April 18, 2016, over one year ago, in compliance with Section 3505(b), the

Government provided written notice to defense counsel that the Government intended to offer

the Kik business records into evidence at trial, pursuant to 18 U.S.C. § 3505.     (Ex. 2.)

Additionally, at that time, the Government requested that the defense counsel stipulate to the

                                                  1
    Case 3:15-cr-00162 Document 40 Filed 04/24/17 Page 1 of 5 PageID #: 265
authenticity and admissibility of these business records and provided defense counsel with a

draft stipulation. (Id.) Defense counsel never responded.

         On June 6, 2016, the Government again wrote to defense counsel inquiring about his

position concerning the proposed stipulation. Defense counsel never responded.

         On April 4, 2017, the Government again wrote to defense counsel inquiring about his

position with respect to the proposed stipulation. Defense counsel never responded.

         On April 13, 2017, the undersigned spoke with defense counsel concerning the proposed

stipulation.   Without providing a reason, defense counsel advised he would not stipulate to the

admission of the business records. As a result, the Government seeks a pre-trial determination

concerning the admissibility of these records.

 II.    18 U.S.C. § 3505 PROVIDES ADMISSIBILITY OF FOREIGN BUSINESS RECORDS

         Congress provided Section 3505 as means to admit foreign business records in criminal

proceedings in the United States.    Section 3505 certifications simply attest that the records at

issue were (1) made at or near the time of the occurrence of the matters set forth in the records,

by a person with knowledge of those matters; (2) kept in the course of a regularly conducted

business activity; and (3) made as part of a regular practice of the business.   See United States

v. Sturman, 951 F.2d 1466, 1489 (6th Cir. 1991).

         Pursuant to Section 3505, “business” includes any business or institution of any kind.

18 U.S.C. § 3505(c)(3). A “foreign record of regularly conducted activity” means any

memorandum, report, record, or data compilation, in any form, of acts, events, conditions,

opinions, or diagnoses, maintained in a foreign country. 18 U.S.C. § 3505(e)(1). A “foreign

certification” means “a written declaration made and signed in a foreign county by the custodian

of a foreign record of regularly conducted activity or another qualified person that, if falsely




                                                  2
       Case 3:15-cr-00162 Document 40 Filed 04/24/17 Page 2 of 5 PageID #: 266
made, would subject the maker to criminal penalty under the laws of that country.”          18 U.S.C.

§ 3505(c)(2).

          Section 3505 is intended to promote the resolution before trial of questions concerning

the admissibility of foreign business records, a matter subject to Rule 104. H.R. Rep. No. 98-

907, at 2 (1984), reprinted in 1984 U.S.C.C.A.N. 3578, 3582.          Subsection (b) requires that the

party intending to offer the foreign business records provide written notification of that intention

to all other parties to the case as soon as practical at, or after, the arraignment.   The Government

provided this notice to the defendant over a year ago, on April 18, 2016. The practical effect of

Section 3505 is to force parties opposing the admission of foreign business records to lodge their

objections so that questions of admissibility may be resolved before trial.

          The records the Government seeks to introduce are records of a “business” as

contemplated by the statute.       Moreover, the certification provided is a “foreign certification” as

authorized by the statute. The certification was executed by a Kik Senior Law Enforcement

Operations Analyst under to the laws of Canada subjecting her to the criminal penalty for an

intentionally false declaration.     Finally, the certification meets the criteria of Section

3505(a)(1)(A)-(D), which allows the records to be introduced into evidence as an exception to

the hearsay rule.

            III. ADMISSION OF FOREIGN BUSINESS RECORDS DO NOT RAISE
                        CONFRONTATION CLAUSE CONCERNS

          A written declaration attesting to the authenticity of a business record is not testimonial in

nature.    The Supreme Court specifically observed that business records “by their nature are not

testimonial.”     Crawford v. Washington, 541 U.S. 36, 56 (2004). In United States v. Hagege,

437 F.3d 943, 958 (9th Cir. 2006), the court concluded that “foreign business records admitted

under § 3505 are not subject to the Crawford requirement of confrontation.          See also United

States v. Jamieson, 427 F.3d 394, 411-12 (6th Cir. 2005) (holding that business records admitted

                                                     3
    Case 3:15-cr-00162 Document 40 Filed 04/24/17 Page 3 of 5 PageID #: 267
under Rule 807 did not resemble the “formal statement” or “solemn declaration” identified by

the Supreme Court in Crawford); United States v. Ellis, 460 F.3d 920, 927 (7th Cir. 2006)

(business records could be properly introduced pursuant to Federal Rule of Evidence 803(6) and

902(11).

                                         CONCLUSION

       To avoid the needless taxpayer expense of international witness travel, the Government

respectfully seeks a ruling by the Court in advance of trial allowing admissibility of the above-

described foreign records of regularly conducted activity pursuant to 18 U.S.C. § 3505.

DATE: April 24, 2017.

                                              Respectfully submitted,

                                              JACK SMITH
                                              Acting United States Attorney

                                              By: s/ Thomas J. Jaworski
                                              Thomas J. Jaworski
                                              Jason Ehrlinspiel
                                              Assistant United States Attorneys
                                              110 Ninth Avenue South
                                              Suite A-961
                                              Nashville, TN 37203




                                                 4
    Case 3:15-cr-00162 Document 40 Filed 04/24/17 Page 4 of 5 PageID #: 268
                         CERTIFIFCATE OF SERVICE

    I certify that, on April 24, 2017, I served the foregoing MOTION IN LIMINE FOR A
PRE-TRIAL DETERMINATION OF ADMISSIBILITY PURSUANT TO 18 U.S.C. § 3505
upon the below defense counsel using the Court’s CM/ECF system.

                          Peter J. Strianse
                          315 Deaderick Street
                          Suite 1700
                          Nashville, TN 37238


                                                    /s/ Thomas J. Jaworski
                                                    THOMAS J. JAWORSKI




                                          5
  Case 3:15-cr-00162 Document 40 Filed 04/24/17 Page 5 of 5 PageID #: 269
